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Case 5:23-cv-05086-TLB Document 2-2 Filed 06/02/23

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WAHLMEIER LAW FIRM. P.A, seaenn ee
May 23, 2023
Via Email Only:
Terrence Cain Brian Meadors
Via Email: terrencecain@windstream.net Via Email: brianmeadors@gmail.com

Re: May 18 Email to Quorum Court of Crawford County

Mr. Cain and Mr. Meadors,

This Firm represents Crawford County’s Quorum Court. The Quorum Court is in receipt
of your email dated May 18, 2023. That email also contains a draft Complaint of a civil
case in the Western District of Arkansas.

Acting as the legislative branch of a County is a task that comes with greater difficulty
than one would think. The balancing test between the freedom of an unbounded First
Amendment and protecting children from exposure to materials that might harm their
innocence exposes the core of the phrase “rational minds may differ.” You even stated in
your email that “Where we disagree... is how best to protect children.”

This balancing test is coming to the forefront of the national conversation. At the state
level, Act 372 passed the legislature and is going into effect shortly. Its effect will be to
require libraries to have a section that is inaccessible to minors. Quorum Courts across
the State will hear appeals on relocation of books within county library systems. The State
legislature’s Act 372 will make it necessary to continue modifying and changing the library
system’s policies and procedures.

The Quorum Court of Crawford County has made no laws that violate the First
Amendment to the Constitution of the United States. Expanding that out to include case
law from the Supreme Court, the Quorum Court of Crawford County has not violated any
legal precedent. When the conversation began that sexualized material was in the
children’s section of the libraries within the System, Justices simply stated that a
compromise should be reached. No ordinance was passed proclaiming that books should
be moved. No direction or supervision was implemented.

Cordially,

QS Adan

Gentry Wahimeier

Licensed in Arkansas and Oklahoma
